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 5
     Attorney for Defendant
     HUANCHANG MA
 6
                            IN THE UNITED STATES DISTRICT COURT
 7
                          FOR THE EASTERN DISTRICT OF CALIFORNIA

 8

 9   UNITED STATES OF AMERICA,                      )       No. CR-S-11-166 MCE
                                                    )
                                                    )
10          Plaintiff,                              )       STIPULATION AND
11
                                                    )       ORDER CONTINUING JUDGMENT
     v.                                             )       AND SENTENCING
                                                    )
12
     HUANCHANG MA,                                  )       Date: November 20, 2014
                                                    )       Time: 9:00 a.m.
13
                                                    )       Judge: Honorable Morrison C. England, Jr.
            Defendant.                              )
14
                                                    )
                                                    )
15
                                                    )
16

17          The parties hereby stipulate the following:

18              Judgment and sentencing in this matter is presently set for September 25, 2014.

19              Counsel for the parties request the date for judgment and sentencing be continued to

20              November 20, 2014 at 9:00 a.m. Counsel for the defendant needs additional time to

21              meet with the client, review the PSR; discuss the findings and recommendations

22              therein; and, research and draft informal objections as necessary. Assistant U.S.

23              Attorney Christiaan Highsmith and USPO Lynda Moore have been advised of this

24              request and have no objection. The parties request the Court adopt the following

25              schedule pertaining to the presentence report:

26              Judgment and Sentencing date:                                      11/20/14
27
                Reply, or Statement of Non-Opposition:                             11/13/14
28
                Motion for Correction of the Presentence Report
                Shall be filed with the Court and served on the
                                                        1
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               Probation Officer and opposing counsel no later than:         11/6/14
 1

 2             The Presentence Report shall be filed with the Court
               And disclosed to counsel no later than:                       10/30/14
 3
               Counsel’s written objections to the Presentence Report
 4
               Shall be delivered to the probation officer and opposing
 5             Counsel no later than:                                        10/23/14

 6             The Presentence Report shall be filed
 7
               And disclosed to counsel no later than:                       10/9/14

 8
     IT IS SO STIPULATED.
 9

10
     Dated: September 18, 2014                                  /s/ John R. Manning
                                                               JOHN R. MANNING
11                                                             Attorney for Defendant
                                                               Huanchang Ma
12

13   Dated: September 18, 2014                                 Benjamin B. Wagner
                                                               United States Attorney
14
                                                               by:/s/ Christiaan Highsmith
15
                                                               CHRISTIAAN HIGHSMITH
16                                                             Assistant U.S. Attorney

17

18
                                                ORDER

19          IT IS SO FOUND AND ORDERED.
20   Dated: September 24, 2014
21

22

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